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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )          8:08CR151
                                            )
             Plaintiff,                     )
                                            )            ORDER
v.                                          )
                                            )
OSCAR COLMENARES-GONZALEZ,                  )
                                            )
             Defendant.                     )



      UPON THE ORAL MOTION OF THE GOVERNMENT,

      IT IS ORDERED that the Change of Plea hearing is continued to June 1, 2009 at
10:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between May 26, 2009 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 26th day of May, 2009.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
